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                                                                   March 22, 2019

 VIA ECF
 The Honorable Sanket J. Bulsara
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Chambers 304 North, Courtroom 324N
 Brooklyn, New York 11201


        Re:    Ellen McCormick v. Phinizy & Phebe Handmade LLC, et al.
               Case No. 18-cv-00916(ENV)(SJB)


 Dear Judge Bulsara,

         We represent the Plaintiff Ellen McCormick (“Plaintiff”) in the above-referenced
 matter. As per the Court’s March 8, 2019 Order directing Plaintiff to provide the Court with
 a status report, we can confirm the closure of the bankruptcy case consistent with this
 Court’s prior observations. Furthermore, we also wish to inform the Court that we are
 attempting to effectuate service upon the individual Defendant Jess Eddy where she is
 presently residing in Australia and have secured counsel in furtherance of such efforts.

        We thank the Court for its continued time and attention to this matter and please do
 not hesitate to contact our office with any questions or concerns.




                                                            Respectfully Submitted,

                                                            /s/ Patrick J. Boyd     .
                                                            Patrick J. Boyd, Partner
                                                            THE BOYD LAW GROUP, PLLC
                                                            Attorneys for Plaintiff




 Cc:    Defendant Crista Freeman (via ECF and electronic-mail)
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